     Case below
The order 18-00728-SMT
                is herebyDoc 110 Filed 06/10/19
                          signed.                  Entered 06/10/19 10:22:39   Desc Main
                                   Document    Page 1 of 2
Signed: June 6 2019




                                              _____________________________
                                              S. Martin Teel, Jr.
                                              United States Bankruptcy Judge


                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLUMBIA

       In re                              )
                                          )
       LORIE LYNN RONES,                  )       Case No. 18-00728
                                          )       (Chapter 13)
                         Debtor.          )

                      ORDER RE DEBTOR’S MOTION TO CONTINUE
                HEARING ON MOTION FOR RELIEF FROM AUTOMATIC STAY

            The debtor’s motion to continue the hearing on the motion

       for relief from the automatic stay scheduled for May 23, 2019,

       will be denied (because the hearing has already been continued to

       June 6, 2019, and because there is no cause to continue the

       hearing beyond that date).      The creditor agreed to a continuance

       of the hearing to June 6, 2019, as reflected by the case hearing

       summary for the hearing of May 23, 2019, and the creditor sent

       the debtor a notice on May 30, 2019, regarding the continued

       hearing date.    The debtor’s counsel moved to withdraw on May 13,

       2019, and he was allowed to withdraw on May 22, 2019.              The debtor

       has more than adequate time to obtain replacement counsel.                It is

            ORDERED that the debtor’s motion (Dkt. No. 103) to continue

       the hearing on the motion for relief from the automatic stay set
Case 18-00728-SMT                                                                           Doc 110    Filed 06/10/19 Entered 06/10/19 10:22:39   Desc Main
                                                                                                      Document Page 2 of 2


 for May 23, 2019, id DENIED (except that the hearing has already

 been continued until June 6, 2019 at 2:00 p.m.).

                                                                                                                          [Signed and dated above.]

 Copies to: Debtor; e-recipients of orders.




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